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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 TERRY MONSKY, individually and on behalf
 of all others similarly situated,

                       Plaintiff,

 v.                                                 Case No. 4:24-cv-01940
                                                    (consolidated with Case No. 4:24-cv-
 DIRECT DIGITAL HOLDINGS, INC.,                     02567)
 MARK WALKER, KEITH W. SMITH,
 DIANA DIAZ, and DIRECT DIGITAL
 MANAGEMENT, LLC,

                       Defendants.

                      DECLARATION OF ANTHONY J. LUCISANO

       I, Anthony J. Lucisano, declare the following pursuant to 28 U.S.C. § 1746:

       1.     I am an attorney with the law firm of Baker Botts L.L.P., which is counsel of record

for Defendants Direct Digital Holdings, Inc., Mark D. Walker, Keith W. Smith, Diana P. Diaz,

and Direct Digital Management, LLC, in the above-styled case.

       2.     I am legally competent to make this declaration. I have personal knowledge and am

familiar with the matters stated in this declaration, and the facts contained herein are true and

correct.

       3.     Attached as Exhibit 15 is a true and correct copy of a statement from the Media

Rating Council, Inc. titled “MRC IVT Requirements and Processes for Pre-Bid – Comments on

the Recent Adalytics Blog,” dated April 11, 2025.

       4.     Attached as Exhibit 16 is a true and correct copy of an article titled “A Colossal

Mess” by Ari Paparo, dated May 20, 2024.

       5.     Attached as Exhibit 17 is a true and correct copy of an article titled “The CEO

Behind Tinder, OkCupid on the Future of Online Dating,” from the Wall Street Journal, dated


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December 21, 2018.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on April 14, 2025.

                                             ______________________________
                                                   Anthony J. Lucisano




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